         Case 1:18-cv-11926-PBS Document 225 Filed 11/02/21 Page 1 of 8




                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS

                                      )
SECURITIES AND EXCHANGE COMMISSION,   )
                                      )
        Plaintiff                     )
                                      )
     v.                               )
                                      )
GREGORY LEMELSON and LEMELSON CAPITAL )
                                                               Civil Action No. 1:18-cv-11926-PBS
MANAGEMENT, LLC,                      )
                                      )
        Defendants,                   )
                                      )
  and                                 )
                                      )
THE AMVONA FUND, LP,                  )
                                      )
        Relief Defendant              )
                                      )

     DEFENDANTS’ RESPONSE TO COMMISSION’S SUBMISSION (ECF No. 223)

        Defendants Father Emmanuel Lemelson (f/k/a Gregory Lemelson), Lemelson Capital

Management LLC, and the Amvona Fund LP submit the following response to the Plaintiff,

Securities and Exchange Commission’s (the “Commission”) filing regarding jury instructions

and in support of the Commission’s proposed verdict form.

I.      Good Faith Instruction

        As the Court indicated it would be providing a good faith instruction, Defendants will

just briefly provide the following citations to further support the appropriateness of such an

instruction. “It is undisputed that good faith is a defense to scienter in actions for securities

fraud.” Backman v. Polaroid Corp., 893 F.2d 1405, 1418 (1st Cir. 1990) (holding it was

reversible error for trial court to fail to instruct jury on good faith defense for scienter in Rule

10b-5 action). See also, Paraflon Invs., Ltd. v. Fullbridge, Inc., No. CV 16-12436-RGS, 2019
           Case 1:18-cv-11926-PBS Document 225 Filed 11/02/21 Page 2 of 8




WL 3759522, at *9 (D. Mass. Aug. 9, 2019), aff'd, 960 F.3d 17 (1st Cir. 2020) (“Good faith,

however, is a defense to scienter because “defendant[s] cannot intend to deceive if [they] acted in

good faith”); Hoffman v. Estabrook & Co., 587 F.2d 509, 513 (1st Cir. 1978) (stating it would be

“manifestly incorrect” to rule that “good faith” was not a defense to an action for securities

fraud).

          Further, good faith applies to the recklessness standard under Rule 10b-5 claims as well:

          The existence of a good-faith defense, however, is not necessarily implicit in any
          instruction as to reckless deception. It is possible for a defendant to be objectively
          reckless—to disregard a danger that would be obvious to the ordinary person—
          and still act in subjective good faith. Even in such instances, the legislative history
          of Section 10(b) supports the conclusion that subjective good faith is still a
          defense. As the Seventh Circuit stated in Sundstrand, “if a trial judge found, for
          example, that a defendant genuinely forgot to disclose information or that it never
          came to his mind, etc., this ... would defeat a finding of recklessness even though
          the proverbial ‘reasonable man’ would never have forgotten.” Sundstrand Corp.
          v. Sun Chemical Corp., 553 F.2d at 1045 n. 20. Because the concept of a
          subjective good faith defense cannot be said to be implicit in any jury instruction
          that merely defines recklessness, we hold that it was error for the trial judge not to
          have instructed the jury explicitly on the good-faith defense.

Backman, 893 F.2d at 1418. See also, Ernst & Ernst v. Hochfelder, 425 U.S. 185, 206 (1976)

(“There is no indication that Congress intended anyone to be made liable [under 10b] for such

practices unless he acted other than in good faith”).

II.       First Amendment Instruction

          The Commission states that there is no authority for the instruction that “the First

Amendment even protects false opinions when the bases for those opinions are disclosed.”

Defendants’ Proposed Jury Instructions, ECF No. 176 at 41. That is inaccurate. This is

supported by Phantom Touring, Inc. v. Affiliated Publications, 953 F.2d 724, 731 n.13 (1st Cir.

1992), as cited in the proposed jury instructions. Additional support for this proposition can be

found in First Circuit precedent analyzing the First Amendment post-Omnicare. See McKee v.

Cosby, 874 F.3d 54, 61 (1st Cir. 2017) (quoting Piccone v. Bartels, 785 F.3d 766, 771 (1st Cir.
                                                    2
         Case 1:18-cv-11926-PBS Document 225 Filed 11/02/21 Page 3 of 8




2015)) (“A statement, even if ‘couch[ed] . . . as an opinion,’ will give rise to liability if it

‘implies the existence of underlying [false and] defamatory facts’ as its basis; conversely, a

statement is ‘immunize[d]’ so long as the speaker discloses all of the facts undergirding it and

none of them are both false and defamatory.”); Piccone, 785 F.3d at 773-74 (holding statement

that was “sufficiently factual to be proved true or false” was nonetheless not actionable, because

“full disclosure of the non-defamatory facts” did not imply that “only one conclusion was

possible”); Ayyadurai v. Floor64, Inc., 270 F. Supp. 3d 343, 362 (D. Mass. 2017) (“by

providing, and even directly linking to, the relevant information on which [defendant] draws his

conclusion, he made it clear that he was expressing his own interpretation of those facts and

inviting his readers to come to their own conclusions”).

        The Commission then argues, without citing to any legal authority and in direct contrast

to the First Circuit case law cited above, that a citation to the basis of the statement, e.g. Viking’s

S-1, could be an implicit assertion that it was interpreted correctly or that it could subject Fr.

Lemelson to liability for omitting something. But there is no requirement that the entire source

document be replicated in full. Rather, referencing the source material is adequate to fall within

the protection of free speech under the First Amendment. See Phantom Touring, 953 F.2d at 731

n.13; Piccone, 785 F.3d at 773-74; Ayyadurai, 270 F. Supp. 3d at 362

        The Commission then notes its opposition to Defendants’ proposed jury instruction for a

“belief sincerely held.” Not because it is incorrect, but rather because it could be confusing.

This is baseless and just leaving it up to jurors to connect the concept of scienter to the First

Amendment analysis is far more likely to lead to confusion on the law by the jury.

        Finally, the Commission argues that the First Amendment was not mentioned in

Omnicare, so no instruction on the First Amendment should be given here. However, there is



                                                    3
         Case 1:18-cv-11926-PBS Document 225 Filed 11/02/21 Page 4 of 8




nothing in Omnicare that overruled the Supreme Court’s holding in Lowe v. SEC, that the First

Amendment protects statements analyzing securities. 472 U.S. 181, 210 n.58 (1985). Indeed,

this argument comes dangerously close to the Commission arguing that the Constitution should

not apply to its enforcement of securities laws. Therefore, Defendants assert that their proposed

instructions regarding the First Amendment are proper and should be read to the jury.

III.    Verdict Form

        The Commission’s argument about the verdict form is purely hypothetical about how in

some cases there can be both false statements and a scheme. But, the Commission has failed, as

it has failed since the beginning of this case, to explain what its scheme theory is beyond the four

alleged misstatements in this case.

        The Court specifically questioned the Commission about this during the hearing on

Defendants’ motion to dismiss.

        THE COURT:            But you are saying, even if I agree with [defense counsel]
                              on all of these [four alleged misstatements], you still have a
                              case?

        MR. DAY:              Not necessarily, your Honor. I think, if all of the
                              misstatements went away, there’s not a lot of other
                              conduct that we’ve alleged in the complaint, but I just
                              want to be clear that there are multiple theories in this case.

ECF No. 127-41 at 25:2-8 (emphasis added).

        As Defendants argued in summary judgment and in its motion in limine, there is

absolutely no precedent for scheme liability based on legal conduct (such as publishing financial

analysis in which no misstatements have been alleged and requesting a website administrator to

remove certain comments posted on its website in accordance with the third-party website’s

policies).




                                                 4
         Case 1:18-cv-11926-PBS Document 225 Filed 11/02/21 Page 5 of 8




       The Commission only cites Lorenzo v. SEC, which is inapposite to the present matter. In

Lorenzo, the Supreme Court held that an individual who disseminated materials that he knew

contained false statements with intent to defraud could still be liable for scheme liability under

Rule 10b-5, despite not being the individual that “made” the statements. 139 S.Ct. 1094, 1100-

03 (2019). Notably, the defendant in Lorenzo, was not challenging the finding of scienter, i.e.

that he knew the communications he sent contained false information. Id. at 1099. Here, there is

no similar illegal or fraudulent behavior beyond the four statements.

       The only additional conduct that the Commission has even implied could be part of the

scheme are (1) distribution of the reports; and (2) seeking to remove comments from Seeking

Alpha. Neither distributing reports nor seeking to remove comments are wrongful actions,

unless the reports contained false statements in violation of Rule 10b-5.

       The Commission then notes that the jury verdict form in SEC v. Johnston, No. 1:16-cv-

10607-NMG, was just one question. However, the allegations in the Amended Complaint

demonstrate the distinctions between that case and the present case. Johnston, ECF No. 42

(attached hereto as Exhibit A). There, in addition to alleging false statements in public filings,

the Commission alleged that the defendants engaged in a concerted corporate communications

strategy to downplay the risk of further pre-approval trials, despite knowing that the FDA had

recommended a second clinical trial. Id. Here, there is no allegations of further wrongful

conduct beyond the four alleged misstatements. And to the extent the Commission has stated

other “scheme” allegations, the conduct alleged would only be wrongful if one or more of the

alleged misstatements was found to be knowingly false and material in violation of Rule 10b-5.

This is in stark contrast to the Johnston allegations, in which the scheme was premised on




                                                 5
         Case 1:18-cv-11926-PBS Document 225 Filed 11/02/21 Page 6 of 8




allegations of a corporate plan to omit material information, separate from the alleged

misstatements in public filings.

       For the foregoing reasons, we believe that the Court should break out the four alleged

misstatements in this case and Defendants propose the following verdict form:



                                          CLAIM ONE

           Fraud in Connection with Purchase or Sale of Securities in Violation of
                       15 U.S.C. § 77q(a) and 17 C.F.R. § 240.10b-5

       Do you, the jury, find unanimously that the SEC has proven by a preponderance of the
       evidence that that Fr. Emmanuel Lemelson’s statements below were (1) made with the
       intent to defraud or reckless disregard for the truth, (2) material, and (3) made in
       connection with the purchase or sale of securities?



       Statement (1): June 19, 2014 Benzinga Radio Interview, “It’s literally going to go away,
       I mean, I had discussions with [Ligand] management just yesterday – excuse me, their
       [Ligand’s] IR [investor relations] firm. And they basically agreed. They said, ‘Look, we
       understand Promacta’s going away.” Exs. 2, 3.



       Not Liable ______                                            Liable ______



       Statement (2): July 3, 2014 Report, “In other words, Marcum was merely hired, but the
       company has not yet even consulted with the firm on any material issues. The financial
       statements provided on the S1 accordingly are unaudited.” Ex. 4 at 9-10.


       Not Liable ______                                            Liable ______



       Statement (3): July 3, 2014 Report, “Viking does not intend to conduct any
       preclinical studies or trials” Ex. 4 at 7.




                                                6
           Case 1:18-cv-11926-PBS Document 225 Filed 11/02/21 Page 7 of 8




         Not Liable ______                                                        Liable ______



         Statement (4): 1 That Fr. Lemelson’s statements about Ligand’s insolvency based on his
         decision not to consider intangible assets as demonstrated in the following examples:

         (a) “Lemelson Capital Says Ligand Pharmaceuticals’ (NASDAQ:LGND) $225M Debt
             Issuance Solidifies Company’s Insolvency, Substantially Raises Specter of
             Bankruptcy” Ex. 6 at 1.

         (b) “3. Tangible Equity: On August 4, 2014, Ligand released their Q2 earnings report and
             financial statements in which the company boasted that it was debt free. Prior to this
             August 4 release, the company’s liabilities exceeded tangible assets, meaning the
             company was insolvent.” Ex. 6 at 2.

         (c) “4. Debt service expense and prospective dilution likely to increase exponentially: On
             August 11, the company announced that they would be taking on $225 million in new
             debt, vis–à–vis a new convertible debt offering. If the bond offering succeeds, the
             company’s liabilities will again far exceed its assets, and the company will be
             technically insolvent once more.” Ex. 6 at 2.

         (d) “On August 18, Ligand filed a form 8-K with the Securities and Exchange
             Commission (SEC), revealing that the company had issued $245 million in new debt
             against the company’s tangible equity of just $21,000, giving rise to a debt to tangible
             equity ratio of 11,667-to-1 (that is to say, $11,667 dollars in debt for every $1 dollar
             in tangible common shareholder equity).” Ex. 7 at 3.

         (e) “There is no question that the cost of this preferential treatment of a few large Ligand
             shareholders at the expense of remaining investors places a burden on Ligand and its
             shareholders that is both unsustainable and further deepens the company’s insolvency
             and likelihood of liquidation or reorganization under Chapter 7 or Chapter 11 of the
             bankruptcy code under which remaining Ligand common shareholders have only the
             protection of $21,000 in tangible equity to shield them from $245 million in debt.”
             Ex. 7 at 6.


         Not Liable ______                                                        Liable ______




IF YOU FIND NOT LIABLE TO ALL FOUR OF THE ABOVE STATEMENTS, THEN
YOU MUST FIND FR. EMMANUEL LEMELSON NOT LIABLE FOR CLAIM TWO.

1
  For the reasons previously stated in Court, Defendants object to the inclusion of five statements for this challenged
statement, but submit this proposed jury verdict form based on the Court’s ruling.

                                                           7
         Case 1:18-cv-11926-PBS Document 225 Filed 11/02/21 Page 8 of 8




                                          CLAIM TWO
                             Violation of Investment Advisers Act
                       15 U.S.C. § 80b-6(4) and 17 C.F.R. § 275.206(4)-8

       Do you, the jury, find unanimously that the SEC has proven by a preponderance of the
       evidence that that Lemelson Capital Management LLC (1) was an investment adviser; (2)
       made an untrue statement of material fact or omitting to state a material fact necessary to
       make the statements made, in the light of the circumstances under which they were made,
       not misleading; (3) to an investor or prospective investor?



       Not Liable ______                                             Liable ______



                                                      Respectfully Submitted,

                                                      REV. FR. EMMANUEL LEMELSON,
                                                      LEMELSON CAPITAL MANAGEMENT,
                                                      LLC, and THE AMVONA FUND, LP

                                                      By: /s/ Douglas S. Brooks
                                                      Douglas S. Brooks (BBO No. 636697)
                                                      Brian J. Sullivan (BBO No. 676186)
                                                      Thomas M. Hoopes (BBO No. 239340)
                                                      LIBBY HOOPES BROOKS, P.C.
                                                      399 Boylston Street
                                                      Boston, MA 02116
                                                      Tel.: (617)-338-9300
                                                      dbrooks@lhblaw.com
                                                      bsullivan@lhblaw.com
                                                      thoopes@lhblaw.com

Dated: November 2, 2021

                                 CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)
and paper copies will be sent to those indicated as non-participants on November 2, 2021.

                                                             /s/ Douglas S. Brooks
                                                             Douglas S. Brooks



                                                 8
